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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 SECURITIES AND EXCHANGE COMMISSION, :
                                                                :
                                     Plaintiff,                 :
                                                                :
          -v-                                                   : No. 16-cv-6848 (DLI)(VMS)
                                                                :
 PLATINUM MANAGEMENT (NY) LLC;                                  :
 PLATINUM CREDIT MANAGEMENT, L.P.;                              :
 MARK NORDLICHT;                                                :
 DAVID LEVY;                                                    :
 DANIEL SMALL;                                                  :
 URI LANDESMAN;                                                 :
 JOSEPH MANN;                                                   :
 JOSEPH SANFILIPPO; and                                         :
 JEFFREY SHULSE,                                                :
                                                                :
                                     Defendants.                :
 ---------------------------------------------------------------X
                  [PROPOSED] ORDER APPROVING THE RECEIVER’S FEES
                  xxxxxxxxxxxx
     AND THE RETENTION OF CONWAY MACKENZIE CAPITAL ADVISORS, LLC
                               NUNC PRO TUNC TO OCTOBER 12, 2017

             Upon the motion (the “Motion”) of Melanie L. Cyganowski, Court-appointed receiver

 (the “Receiver”), for entry of an order, approving the retention of Conway MacKenzie Capital

 Advisors, LLC (“CM”), nunc pro tunc to October 12, 2017, to provide consulting and investment

 banking services as more fully described in the Engagement Letter between the Receiver and

 CM, dated October 12, 2017 (the “Engagement Letter”), and upon consideration of the

 Declaration of Kenneth T. Latz, filed on November 10, 2017 (the “Declaration”), the

 Engagement Letter attached to the Latz Declaration, and the accompanying Brief in Support of

 the Motion, filed on November 10, 2017 (the “Brief”), and it appearing that, based on the

 Declaration and the Brief, CM is qualified to provide services to the Receiver in this action in

 accordance with the terms of the Engagement Letter; and the relief requested in the Motion is

 warranted.

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             NOW, THEREFORE, after due deliberation and sufficient cause appearing therefor,

 and no objection to the Motion having been raised or having been overruled, it is hereby:

             ORDERED that the Motion is granted and the Receiver is authorized to employ CM

 nunc pro tunc to October 12, 2017, the date in which she entered into the Engagement Letter, in

 accordance with the terms of the Engagement Letter and the Second Amended Receiver Order;

 and it is further

             ORDERED that CM shall be compensated for such services in accordance with the

 terms set forth in the Engagement Letter; and it is further

             ORDERED that the Court shall retain jurisdiction to hear and determine all matters

 arising from the implementation of this Order.


 Dated: Brooklyn, New York
        ________________,
        November   30      2017
                                               Digitally signed by Brian
                                               M. Cogan
                                               _______________________________
                                               Judge Brian M. Cogan
                                               United States District Court Judge




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